         Case 2:21-cv-01050-CRE Document 24 Filed 07/20/22 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                  PITTSBURGH

ROBERT EYLER,                                  )
                                               )
               Plaintiff,                      )            2:21-CV-01050-CRE
                                               )
        vs.                                    )
                                               )
LIZA LUV INVESTORS III LLC,                    )
                                               )
               Defendant,                      )
                                               )
                                               )

                                         ORDER

       AND NOW, this 20th day of July, 2022,

       IT IS HEREBY ORDERED that Defendant Liza Luv Investors III LLC’s Motion to

Dismiss (ECF No. 11) is DENIED. Defendant’s Answer due by August 10, 2022.




                                                      By the Court:

                                                      s/ Cynthia Reed Eddy
                                                      Chief United States Magistrate Judge

cc: all registered counsel via CM-ECF
